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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 NEW YORK CITY TRANSIT AUTHORITY,

                       Plaintiff,                         JURY TRIAL DEMANDED

                -against-                                 Case No. 1:19-cv-05196

 EXPRESS SCRIPTS, INC.,

                        Defendant.



                                    AMENDED COMPLAINT

       Plaintiff the New York City Transit Authority (“NYCTA” or “Plaintiff”), by and through

its undersigned counsel, for its Amended Complaint against Express Scripts, Inc. (“ESI” or

“Defendant”), alleges as follows:

                                PRELIMINARY STATEMENT

       1.      New York City’s massive and aged subway and bus system is facing substantial

financial challenges. Yet defendant ESI, a contractor that the NYCTA hired to manage the

prescription drug benefit plan for its subway operators, bus drivers, and other employees and

retirees, failed in its role as pharmacy benefits manager (“PBM”), resulting in tens of millions of

dollars of fraudulent, abusive, or excessive claims unnecessarily paid by the NYCTA. Through

this action, the NYCTA seeks to enforce ESI’s contractual obligation to prevent and repay these

claims, as well as additional overpayments for prescription drugs that ESI approved but were not

covered by the NYCTA’s prescription drug benefit plan.

       2.      As the intermediary between the NYCTA, the employer sponsor, and the

pharmacies filling the prescriptions, ESI oversees and manages the administration of the

NYCTA’s prescription drug benefit plan, including selecting pharmacies, negotiating prices, and
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processing the thousands of individual claims made by participating employees and retirees.

       3.      Since the NYCTA retained ESI as its PBM in April 2016, the NYCTA has paid

tens of millions of dollars in fraudulent, abusive, or excessive prescription drug claims that were

managed, administered, and fulfilled by ESI. To date, two NYCTA employees have been

convicted of federal fraud and conspiracy charges in connection with these overpayments. But

the scope of this fraud, abuse, and excess extends well beyond these two convictions: it

implicates dozens of individuals, physicians, and pharmacies across the country, and involves

instances of unreasonably high prescription claims that ESI should have controlled and outright

fraud that it should have identified and prevented. All of it took place on ESI’s watch and was

preventable had ESI fulfilled its obligations under its contract with the NYCTA. And under that

contract, ESI is required to repay these overpayments to the NYCTA, as well as any other claims

that exceed the terms of the benefit plan and the operative contract.

       4.      The fraudulent, abusive, or excessive claims involve compound prescription

drugs. Compound prescriptions require pharmacies to combine, mix, or alter drug ingredients to

create a medication that is tailored to the unique needs of a patient. While compounds typically

include component drugs that are approved or regulated by the U.S. Food and Drug

Administration (“FDA”), the compounds themselves are not; and they often cost thousands—

even tens of thousands—of dollars more than non-compound prescription drugs. With these

perverse incentives in place, fraudulent schemes have surfaced involving corrupt physicians

authorizing illegitimate prescriptions for compound medications, complicit pharmacies filling

them, and kick-backs paid to the patients requesting them. Many of these schemes involve

marketers who are paid commissions for referring prescriptions to pharmacies. These drug

frauds cost health care plan sponsors, like the NYCTA, huge amounts in false claims. And as the




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largest PBM in the country, ESI was well-aware of the growing problem of compound

prescription fraud long before it became the NYCTA’s PBM.

       5.      Compound drug fraud, excess, and abuse is detectable and preventable using the

data ESI collects, and the NYCTA pays ESI to do just that. Yet shortly after the NYCTA and

ESI entered into their contract, claims for compound medications by the NYCTA prescription

benefits plans participants spiked dramatically, increasing from less than half a million dollars

per month in 2015 to $8.8 million in March 2017. The NYCTA in-house plan administration

staff first noticed these spikes early and in real time, and brought them to the attention of ESI on

multiple occasions. At first, ESI dismissed the concerns, claiming that it did not see similar

spikes across its client portfolio. Despite the NYCTA’s persistence, ESI failed to take adequate

measures to monitor, identify, and stop activity that, on its face, bore the hallmarks of fraud,

abuse, and excess.

       6.      For example, in June 2016, only two months after the contract term began, the

NYCTA asked ESI about a single individual’s claim for an erectile dysfunction compound

medication that totaled $405,326.43 over three months. ESI assured the NYCTA that it would

address its concerns over the extraordinary charges for compounds, and the $400,000 erectile

dysfunction claim proved non-fraudulent. Yet compound medication costs continued to rise for

suspicious reasons that should have provoked an aggressive response from ESI—including a

single Utah pharmacy that was responsible for over $20 million of the NYCTA’s compound

spending in the first year of ESI’s contract term. ESI offered only one solution—pre-approval of

compound drug claims—that was not possible under the NYCTA’s collective bargaining

agreement, and failed to offer a broader, more specific, or attentive solution as required under




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ESI’s contractual duties. Only after the NYCTA began manually reviewing individual claims

and instructing ESI to block specific physicians and pharmacies did costs begin to decrease.

         7.    But policing and preventing prescription fraud, abuse and excess was not the

NYCTA’s duty under the contract—it was ESI’s. Under the plain contract terms, ESI was

obligated to process claims in a prudent and expert manner, investigate potential fraudulent,

abusive, or excessive overpayments, maintain comprehensive audit programs, monitor the

pharmacies in its network, repay overpayments, and generally meet a prudent PBM’s standard of

care and diligence. Even a minimal application of these duties would have prevented the

fraudulent, abusive, and excessive claims—which were not only obvious and recurring, but

mirrored the sharp rise in compound claims experienced by another public sector ESI client that

also proved to be fraudulent. The NYCTA has suffered tens of millions of dollars in damages

stemming directly from ESI’s breach of these contractual obligations, as well as additional

millions in reimbursed claims that were outside the scope of the prescription drug benefit plan

ESI was tasked to administer—all of which the NYCTA seeks to recover through a judgment in

this action.

                                          THE PARTIES

         8.    Plaintiff the New York City Transit Authority is a New York public benefit

corporation with a principal place of business located at 2 Broadway, New York, New York

10004.

         9.    Defendant Express Scripts, Inc. is a Delaware corporation, with its principal place

of business located at One Express Way, St. Louis, Missouri 63121.

                                JURISDICTION AND VENUE

         10.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).




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       11.     This Court may exercise personal jurisdiction over Defendant pursuant to CPLR §

302(a)(1) and (2), because the acts subject to the Amended Complaint arise from Defendant’s

transaction of business within New York State and/or agreement to supply services in New York

State and/or Defendant’s commission of a tortious act within New York State.

       12.     Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to the claims alleged by Plaintiff occurred within the

City, State, and County of New York.

                                   STATEMENT OF FACTS

BACKGROUND AND REQUEST FOR PROPOSAL

       13.     The NYCTA is the public authority operating the public subway and bus systems

in New York City. As of the end of 2018, the NYCTA (including its subsidiary, the Manhattan

and Bronx Surface Transit Operating Authority) had 50,129 full and part-time employees.

       14.     ESI is the largest PBM in the United States and the country’s 25th largest

company overall. Its annual revenues exceed $100 billion.

       15.     PBMs are third-party administrators of prescription drug programs that are

primarily responsible for processing and paying prescription drug claims. As part of their

general duties, PBMs maintain formularies, contract with pharmacies, negotiate discounts and

rebates with drug manufacturers, coordinate payment of claims, and monitor claims activity.

       16.     As the intermediary between the sponsor and the pharmacies, PBMs are best-

positioned to monitor claims activity and determine whether there are any indications that the

claims are fraudulent, abusive, excessive, or otherwise illegitimate.

       17.     According to its 2017 Annual Report, ESI “provides a full range of integrated

pharmacy benefit management services, including home delivery pharmacy care, specialty




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pharmacy care and benefit management, benefit design consultation, drug utilization review,

formulary management, and medical and drug data analysis, that guide patients and plans toward

better health by prioritizing care and increasing savings.”

       18.       The NYCTA provides its employees and retirees with health care and prescription

drug benefits through its contract with Aetna, Inc. The benefits package consists of two plans:

the Commercial Plan, which serves its active workforce, and the Employer Group Waiver Plan

(“EGWP”), which serves retirees eligible for Medicare. The pharmacy benefit plan covered

represented employees of the NYCTA and certain non-represented operating employees of the

NYCTA, along with represented employees of the MTA Bus Company and Staten Island

Railway (both MTA subsidiaries). Altogether, in 2018, approximately 155,000 employees,

retirees, and their dependents were covered under the prescription drug benefit plan.

       19.       Pursuant to Section 1209(9)(f) of the Public Authorities Law, the NYCTA’s

Board approved a Request for Proposal (“RFP”) process for a PBM to administer its prescription

drug benefit plan.

       20.       The NYCTA first issued its RFP in November 2014. The NYCTA was assisted

by outside consultants selected for their expertise in health benefits, cost modeling, and

understanding of union relationships.

       21.       The NYCTA’s consultants prepared certain RFP documents, assisted with

negotiations, provided financial modeling, and analyzed the potential changes in co-pays under

each proposal.

       22.       Consistent with its existing benefits package, the NYCTA’s RFP requested

separate pricing for the Commercial Plan, the EGWP plan, and for the Commercial and EGWP

plans combined.




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        23.    On February 6, 2015, the NYCTA received six proposals, including from the

incumbent PBM, OptumRx, Inc. (“OptumRX”), and ESI. The NYCTA’s Selection Committee

evaluated each proposal in accordance with the criteria in the RFP, which included, among other

things, experience and expertise in maintaining a large network of retail pharmacies, ability to

replicate and enhance the existing plan design, and customer service capabilities.

        24.    On August 24, 2016, following negotiations and oral presentations, the remaining

proposers submitted their Best and Final Offers (“BAFOs”). The BAFOs contained detailed

pricing, including guaranteed discounts, guaranteed rebates, administrative fees, and dispensing

fees.

        25.    The NYCTA’s consultants used their proprietary financial model to evaluate the

detailed pricing contained in the BAFOs and project the NYCTA’s net plan costs for four years.

According to that model, ESI’s BAFO yielded the lowest cost for the Commercial and EGWP

plans combined.

        26.    The Selection Committee reviewed the BAFOs in accordance with the evaluation

criteria and unanimously recommended ESI for award of both the Commercial and EGWP plans.

THE CONTRACT

        27.    On October 1, 2015, the NYCTA signed a three-year PBM contract with ESI (the

“Contract”). The Contract went into effect on April 1, 2016 and expired on April 1, 2019. ESI

thereafter continued in its role as the NYCTA’s PBM through May 31, 2019 pursuant to an

agreed-upon two-month interim arrangement. The NYCTA awarded a PBM contract to another

vendor, which commenced on June 1, 2019.

        28.    Under the Contract, and consistent with PBM practice generally, once a pharmacy

filled a prescription and dispensed the drug, it would submit a claim for reimbursement to ESI,




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which then processed the claim and reimbursed the dispensing pharmacy. The NYCTA would

later reimburse ESI for all expenditures made on behalf of its beneficiaries.

       29.     The Contract imposed multiple affirmative duties and obligations on ESI that, if

carried out, would have prevented the damages incurred by the NYCTA.

       30.     The Contract required ESI to carry out its obligations in a non-negligent manner

consistent with its specialized experience and expertise. Section 4.1 of the Contract required ESI

to:

               In the exercise of its duties under this Agreement . . . use that
               degree of care and reasonable diligence that an experienced and
               prudent plan administrator of pharmacy benefits under a group
               health plan familiar with such matters would use acting in like
               circumstances, and consistent with industry standards.

Under section 4.1, ESI was obligated to take affirmative and proactive measures in response to

clear indications of fraudulent, abusive, or excessive claims in the data that it received and

reviewed in the ordinary course.

       31.     The Contract required ESI not just to pay claims, but to affirmatively review and

investigate them in order to protect the integrity of the NYCTA prescription drug benefit plans.

Section 4.2 of the Contract required ESI to:

               process Claims incurred . . . and provide customer service in a
               prudent and expert manner, including investigating and reviewing
               such Claims to determine what amount, if any, is due and payable
               according to the terms and conditions of the Plan documents and
               this Agreement.

Section 4.2 of the Contract further provided that ESI:

               shall have authority under the Plan for purposes of (i) making
               initial Claims payments and denials under the Plan; (ii) performing
               the fair and impartial review(s) of all appeals of denied Claims;
               and (iii) issuing any required notices to Plan participants. In
               connection with those duties, [ESI] shall determine what Benefits
               are payable under the Plan, subject to the eligibility and enrollment
               information the [NYCTA] gives to [ESI.] [ESI] shall be deemed to


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               have properly exercised such authority unless it has abused its
               discretion by acting arbitrarily or capriciously. [ESI] is a fiduciary
               of the Plan for the purposes of appeals to the extent necessary to
               perform its obligations and duties as expressed in this Agreement
               and to the extent that its performance of such appeals constitutes
               fiduciary action. Contractor shall not act as the plan administrator
               for the Plan in performing its obligations under this Agreement.

The Contract defined Plan Documents as “the summary plan description(s) and any other

documents that are specifically incorporated by reference in the summary plan description(s).”

       32.     Under section 4.2, ESI was obligated to affirmatively investigate claims data to

ensure that the NYCTA was not reimbursing any claims that exceeded the scope of its benefit

plan or the terms of the Contract and inform the NYCTA of any irregularities, particularly those

suggesting fraud, abuse, or excess.

       33.     ESI also had ongoing internal audit requirements under the terms of the contract.

Section 4.14 of the Contract required ESI to:

               maintain a comprehensive internal audit program for pharmacy
               benefits management services. During these random, internal
               audits, ESI shall include a review of the delivery of appropriate
               pharmacy benefit management services to Participants in
               accordance with standards in the pharmacy benefit management
               community.

Under section 4.14, ESI was obligated to audit its services to ensure it had adequate procedures

and safeguards in place to identify clear indications of fraudulent, abusive, or excessive claims,

and to stop such activity once it was detected.

       34.     The Contract also made ESI responsible for monitoring and managing pharmacy

practices. Section 4.16 of the Contract required ESI to:

               maintain a Network of Pharmacies throughout the term of this
               Agreement adequate to meet the prescription drug and professional
               pharmacy service needs of Participants. . . . [ESI] shall be solely
               responsible for the selection, monitoring, and retention of its
               Network Pharmacies. [ESI] represents and warrants that . . . [it]
               has exercised and shall exercise due diligence in the selection and


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                retention of Network Pharmacies. . . . Contractor shall maintain . . .
                quality improvement committees and medical directors (i) to
                monitor the quality of prescription drug and professional pharmacy
                services furnished by Network Pharmacies, as well as the quality
                of services [ESI] maintains, and (ii) to direct action as appropriate
                to correct deficiencies.

Under section 4.16, ESI was obligated to: (i) exercise due diligence in its selection and

monitoring of the pharmacies in its network, which at a minimum, required promptly removing

pharmacies engaged in clearly fraudulent activity or otherwise submitting abusive or excessive

claims; and (ii) establish internal committees that ensure the pharmacies in its network provided

adequate quality, including making affirmative changes in response to any identified

deficiencies.

       35.      ESI was responsible for overpayments under the Contract. Section 4.7 of the

Contract made ESI:

                liable for all un-recovered Overpayments due to [ESI’s] breach of
                this Agreement (including, without limitation, Contractor’s failure
                to meet the standard of care), negligence, willful malfeasance or
                violation of applicable law.

The Contract defined Overpayments as:

                payments that exceed the amount payable under the Plan and this
                Agreement . . . including, but not limited to . . . an error in the
                administration of coordination of benefits.

Under section 4.7, ESI was contractually liable for all overpayments, including those resulting

from ESI’s failure to monitor and respond to clear indications of fraudulent, abusive, or

excessive claims, as well as any other claims that exceeded the scope of the benefit plan or the

terms of the Contract.

       36.      Collectively, these Contract provisions imposed a basic fraud detection obligation

on ESI. ESI represented to the NYCTA, including in a March 15, 2019 email that summarized

its basic fraud, waste, and abuse obligations, that it “continuously monitors the entire network of


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pharmacies for billing discrepancies and possible fraud,” and that it provides all of its clients

with standard fraud, waste, and abuse control mechanisms through “a combination of various

core services,” including those relating to claims processing and pharmacy management/audits

outlined above. Through a combination of real-time claims analysis, audits, and even on-site

visits to network pharmacies and in-person pharmacist interviews, ESI represented that its fraud,

waste, and abuse protocols involved an automated review process to detect high risk claims

using a large number of outlier indicators, followed by additional review by ESI’s network

auditors. ESI also maintained a “fraud monitoring & fraud tip hotline,” which it purportedly

used to collect and investigate allegations of fraud and abuse by members, network pharmacies,

prescribers, and law enforcement.

       37.     Under the basic anti-fraud obligations contained in the Contract, which by ESI’s

own admissions were included in the “core services” detailed above, ESI was required to take

specific and aggressive measures to both detect and prevent fraudulent, abusive, or excessive

claims. These measures should have included an examination of relevant claims data as they

became available in order to ensure there were no outlier indicators of ongoing fraud warranting

immediate action.

       38.     In addition, section 4.35 of the Contract also provided an “enhanced” fraud,

waste, and abuse program, which required ESI to:

               Upon the AUTHORITY’S request . . . [a]dminister, for the fees set
               forth in Exhibit A, a fraud prevention and detection program,
               including system edits and other procedures to critically examine
               charges for all services that appear abusive, excessive, or fraudulent.

       39.     Exhibit A of the Contract provides that the “enhanced” fraud, waste, and abuse

protection is included for Medicare-eligible retirees serviced by the EGWP (as defined above),

and is available for Commercial Plan beneficiaries at an additional cost. Accordingly, while the



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NYCTA did not purchase any enhanced fraud protection for Commercial plan beneficiaries, the

enhanced protection was included for EGWP beneficiaries.

       40.     The RFP documents attached to the Contract make clear that the NYCTA

requested and expected its incoming PBM to implement basic fraud protection, and that ESI

agreed. In the Scope of Work that the NYCTA provided to ESI during the RFP process, which is

attached to the executed Contract, the NYCTA expressly requested that its incoming PBM

“administer a fraud prevention and detection program and cooperate with the Authority’s efforts

to eliminate and prosecute health care fraud.” In its subsequently provided Scope of Work

Deviations Worksheet, ESI requested multiple deviations from the Scope of Work, but did not

request any deviations from the NYCTA’s request for a fraud prevention and detection program.

       41.     Moreover, during the same RFP process that led to the NYCTA awarding a PBM

contract to ESI, ESI marketed its enhanced fraud, waste, and abuse program as distinct from the

standard program included in its core services, which it similarly markets to its full catalogue of

clients. While the basic fraud, waste, and abuse obligations contained in the Contract required

ESI to monitor, audit, and investigate claims bearing any indicia of fraud as part of its core

services, the enhanced fraud, waste, and abuse program, according to ESI’s own promotional

materials, uses “advanced analytics, full investigative services, detailed reporting, and expert

consultation to help [the sponsor] control costs and curtail inappropriate drug use.”

       42.     As detailed below, by failing to take the affirmative steps mandated by the

Contract terms set forth above in response to clear and ongoing fraud, abuse, and excess, ESI

breached its basic and enhanced anti-fraud obligations contained in the Contract and caused tens

of millions of dollars in damages to the NYCTA. In addition, by approving thousands of claims

for non-FDA approved prescription drugs that were not covered by the Commercial plan, ESI




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further breached the Contract and caused millions of dollars in additional damages to the

NYCTA.

SOARING COMPOUND MEDICATION COSTS

       43.     In the pharmaceutical business, the process of combining, mixing, or altering

ingredients to create a medication tailored to the unique needs of an individual patient is called

“compounding.” Though not themselves FDA-approved, compound medications are often

prescribed when a patient requires an FDA-approved medication in an alternative form (e.g., due

to allergies or inability to swallow a tablet or capsule).

       44.     The Contract defines a “Compound Prescription” as “a customized medication

derived from two or more raw chemicals, powders and devices, of which at least one ingredient

is a federal legend drug, approved by the FDA, prepared by a pharmacist according to a doctor’s

specifications the Prescriber’s order and the pharmacist’s professional capabilities.”

       45.     The prices of compound medications are often significantly higher than non-

compound alternatives, with price differentials in the tens of thousands of dollars or more.

Given these perverse incentives, fraudulent schemes have surfaced involving patients,

physicians, and pharmacists filling compound prescriptions and sharing the proceeds.

       46.     ESI was well-aware of the growing problem of compound prescription drug fraud

before it became the NYCTA’s PBM. As the PBM for Tricare, the federal government’s health

insurance program for military members and their families, ESI knew in 2015 that: (i) Tricare’s

compound prescription drug expenditures had more than tripled from 2014 to 2015; and (ii)

federal prosecutors were conducting a criminal investigation related to those compound claims.

On February 24, 2016, more than a month before ESI’s Contract term with the NYCTA began,

two individuals were indicted on fraud and conspiracy charges involving $65 million in




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fraudulent compound claims billed to Tricare. By October 2016, ten more individuals were

charged for participating in the same scheme, and the fraudulent claims had grown to $100

million.

       47.      In a pattern that mirrored Tricare’s experience with ESI, the NYCTA’s compound

prescription expenditures rose precipitously after ESI took over as the NYCTA’s PBM. Prior to

April 2016, the NYCTA paid approximately $500,000 per month in compound claims; by March

of 2017, the NYCTA’s monthly compound spending peaked at $8.8 million.

       48.      The NYCTA noticed the rapidly rising costs of compound medications early in

the Contract term and brought the issue to ESI’s attention. In June of 2016, three months into the

Contract, the NYCTA contacted ESI about a single individual’s claim for an erectile dysfunction

compound that totaled $405,326.43 over three months.

       49.      Upon notification by the NYCTA, ESI assured the NYCTA that it would take

steps to alleviate the NYCTA’s concerns over compound spending, including reporting the

claims to ESI’s “Fraud Tip Line” and alerting the “Director of Program Integrity.” The NYCTA

also requested that ESI provide detailed reporting on compound prescriptions and pursue

recovery of any illegitimate compound claims.

       50.      While the claim for the erectile dysfunction compound was later discovered to be

non-fraudulent, ESI was on notice that the NYCTA wanted close inspection of compound claims

under the Contract. ESI was also on notice of the already-existing compound prescription drug

fraud problem due to its experience as Tricare’s PBM.

       51.      In July 2016, ESI prepared a presentation on their compound management

program (the “Compound Program”). Under ESI’s Compound Program, compound




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prescriptions would be limited to pre-approved ingredients. If the requested compound

contained any excluded ingredients, prior authorization from ESI would be required.

       52.      In order to obtain prior authorization, the prescribing physician, pharmacist, or the

plan beneficiary would have to call ESI. After the caller would be verified, ESI’s prior

authorization representative would reviewe the request. If the request were denied, an ESI

pharmacist would have to affirm or overrule the representative’s denial.

       53.      ESI’s Compound Program proposal was an off-the-shelf solution that posed

problems for the NYCTA. In an order on December 16, 2004, an arbitrator had ruled that the

NYCTA’s unilateral implementation of prior authorization measures violated governing

collective bargaining agreements because they constituted a reduction in the level of benefits

contemplated by the parties. Accordingly, the NYCTA informed ESI that its Compound

Program was not then a feasible solution because it might lead to a grievance and present issues

under the collective bargaining agreement. ESI proposed no other solution.

       54.      Despite the NYCTA’s complaints and ESI’s assurances, compound spending

continued to grow in 2016 and 2017. On March 28, 2017, the NYCTA’s consultants informed it

that a single pharmacy in Utah, called Fusion Pharmacy (“Fusion”), was responsible for $20

million dollars of the NYCTA’s compound bill, including $12 million over a nine-month period

in 2016.

       55.      In April of 2017, the NYCTA instructed ESI to block all prescription claims by

Fusion. Prior to being notified by the NYCTA, ESI neither identified the Fusion claims nor took

any steps to prevent them.




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       56.     The $12 million that the NYCTA paid to Fusion in 2016 was double the

NYCTA’s entire compound expenditure for 2015. The NYCTA’s total compound expenditures

for the nine-month period in 2016 was $22 million.

       57.     The basic fraud obligations contained in the Contract required ESI to detect and

address these obvious outlier indicators. If ESI actually reviewed the claims data at all—which,

on its own admission, it was obligated to do under its basic anti-fraud obligations—the fact that a

single pharmacy filled $20 million worth of compound prescriptions would have (or should

have) raised instant red flags. But despite the fact that even a cursory review of real-time claims

data should have triggered a meaningful response, ESI failed to detect or address this

extraordinary level of Fusion claims.

       58.     The NYCTA’s total compound expenditures for the first half of 2017 was $30

million. In June of 2017, the NYCTA requested additional reporting and data from ESI on

prescription drug expenditures.

       59.     In January of 2018, the NYCTA learned that a single California orthopedic

surgeon, Dr. Mitchell Cohen, was responsible for prescribing $20 million of compound

medications paid by the NYCTA in 2016. The NYCTA subsequently learned that, less than two

years before, on December 15, 2015, prior to writing the compound medications to NYCTA plan

participants in 2016, Dr. Cohen had pleaded guilty to federal fraud charges arising out of a

workers’ compensation kickback scheme. ESI did not inform the NYCTA of this fact and took

no action with regard to this corrupt physician.

       60.     Despite being aware of these extraordinary and ongoing compound costs

involving a single pharmacy and a single physician, ESI failed to take proactive measures to

block the physician from prescribing further prescriptions, block the pharmacy from further




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filling them, and/or inform the NYCTA of these clear indications of abusive, excessive, or

fraudulent claims. As a result, the Fusion and Cohen-related claims continued to accumulate

through 2016 and 2017.

       61.     On January 25, 2018, the NYCTA instructed ESI to block all prescription claims

authorized by Cohen. ESI did not block prescription claims authorized by Cohen until February

13, 2018, by which time Cohen had filled more fraudulent prescriptions.

       62.     During 2017 and 2018, the NYCTA directed ESI to block 35 pharmacies and 27

physicians from fulfilling claims for NYCTA members.

       63.     On March 2, 2018, Christopher Frusci, a bus driver from Staten Island, pleaded

guilty in the United States District Court for the District of New Jersey to his involvement in a

conspiracy to defraud the NYCTA’s health insurance plan and other insurers out of $5 million by

using fraudulent claims for compounded medications marketed by “Company A.” To secure

false compound prescriptions, Company A and sales representatives, like Frusci, referred health

care plan beneficiaries to telemedicine physicians paid by Company A or its affiliates.

       64.     On June 27, 2018, Enver Kalaba, an NYCTA employee, pleaded guilty to

participating in the same compound prescription fraud scheme. Kalaba, who was recruited by

Frusci, admitted that, from April 2016 through August 2017, he conspired to defraud the

NYCTA’s health benefits plan by filing fraudulent claims for medically superfluous compound

prescriptions. Kalaba paid health plan beneficiaries $100 for each false prescription. To ensure

physicians prescribed compound medications regardless of medical necessity, Kalaba referred

health care plan beneficiaries to telemedicine physicians who were paid by Company A.




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        65.    On information and belief, dozens of additional individuals, pharmacies, and

physicians have participated in the same or similar fraudulent schemes involving compound

medication claims paid for by the NYCTA during the Contract term with ESI.

APPROVAL OF NON-FDA APPROVED MEDICATIONS

        66.    In addition to its failure to prevent tens of millions of dollars in fraudulent

prescription drug claims, ESI also approved thousands of claims for non-FDA approved

medications that were outside the scope of the NYCTA prescription drug benefit plan ESI was

tasked to administer.

        67.    The prescription drug benefit summary plan description, which the Contract

expressly incorporates, required covered medications to be FDA-approved.

        68.    Despite this requirement, ESI approved millions of dollars in non-FDA approved

prescription drug claims, including approximately $3.2 million in 2017 alone according to an

audit conducted by the NYCTA’s consultants.

TRANSITION TO A NEW PBM

        69.    During the period that ESI served as the NYCTA’s PBM, prescription drug

reimbursement claims paid to NYCTA employees and retirees exceeded the NYCTA’s spending

projections—and for a time, vastly so—due to the volume of compound prescription drug claims

approved by ESI, many of which the NYCTA and others subsequently determined to be

fraudulent claims.

        70.    Due to these exceedingly high contract costs overruns and the MTA’s dire

financial condition, as well as the critical importance of ensuring employee health and safety, the

MTA declared an emergency that made formal competitive bidding impractical and

inappropriate as provided in guidelines adopted pursuant to New York Public Authorities Law §

2879.


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       71.     Because of that emergency finding and the procurement procedures it specifically

invoked, the MTA issued requests for proposals to two other industry-leading PBM providers,

OptumRX and CVS Health. The MTA selected CVS Health as its new PBM manager due to its

implementation plan, account management staff, reporting capabilities, and lower costs.

       72.     ESI has sought to enjoin the MTA from contracting with CVS Health to provide

prescription benefit management services to its employees, its employees’ families, and retirees.

                                  FIRST CAUSE OF ACTION
                                  (BREACH OF CONTRACT)

       73.     The NYCTA repeats and realleges the allegations of the previous paragraphs as

though fully set forth herein.

       74.     The NYCTA has performed all of its obligations under the Contract.

       75.     As a result of its failure to identify and respond to obvious indications of fraud

reflected in the claims data that it collected and monitored, and its resultant failure to prevent the

accumulation of fraudulent prescription drug claims, ESI has breached Section 4.1 of the

Contract by failing to use that degree of care and reasonable diligence that an experienced and

prudent plan administrator of pharmacy benefits under a group health plan familiar with such

matters would use acting in like circumstances, and consistent with industry standards.

       76.     The NYCTA has suffered damages as a direct and proximate result of ESI’s

breach of contract.

                                 SECOND CAUSE OF ACTION
                                  (BREACH OF CONTRACT)

       77.     The NYCTA repeats and realleges the allegations of the previous paragraphs as

though fully set forth herein.

       78.     The NYCTA has performed all of its obligations under the Contract.




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       79.      As a result of its failure to identify and respond to obvious indications of fraud

reflected in the claims data that it collected and monitored, and its resultant failure to prevent the

accumulation of fraudulent prescription drug claims, as well as its approval of non-FDA

approved medications that were not covered by the NYCTA prescription drug benefit plan, ESI

has breached Section 4.2 of the Contract by failing to process prescription drug claims and

provide customer service in a prudent and expert manner, including investigating and reviewing

such claims to determine what amount, if any, is due and payable under the Plan Documents and

the Contract.

       80.      The NYCTA has suffered damages as a direct and proximate result of ESI’s

breach of contract.

                                  THIRD CAUSE OF ACTION
                                  (BREACH OF CONTRACT)

       81.      The NYCTA repeats and realleges the allegations of the previous paragraphs as

though fully set forth herein.

       82.      The NYCTA has performed all of its obligations under the Contract.

       83.      As a result of its failure to identify and respond to obvious indications of fraud

reflected in the claims data that it collected and monitored, and its resultant failure to prevent the

accumulation of fraudulent prescription drug claims, ESI has breached Section 4.14 of the

Contract by failing to maintain a comprehensive internal audit program for pharmacy benefits

management services, including failing to review the delivery of appropriate pharmacy benefit

management services to the NYCTA in accordance with standards in the pharmacy benefit

management community.

       84.      The NYCTA has suffered damages as a direct and proximate result of ESI’s

breach of contract.



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                                 FOURTH CAUSE OF ACTION
                                  (BREACH OF CONTRACT)

       85.     The NYCTA repeats and realleges the allegations of the previous paragraphs as

though fully set forth herein.

       86.     The NYCTA has performed all of its obligations under the Contract.

       87.     As a result of its failure to identify and respond to obvious indications of fraud

reflected in the claims data that it collected and monitored, and its resultant failure to prevent the

accumulation of fraudulent prescription drug claims, ESI has breached Section 4.16 of the

Contract by failing to exercise due diligence in the selection, monitoring, and retention of its

network pharmacies, and by failing to direct appropriate action to correct obvious deficiencies.

       88.     The NYCTA has suffered damages as a direct and proximate result of ESI’s

breach of contract.

                                  FIFTH CAUSE OF ACTION
                                  (BREACH OF CONTRACT)

       89.     The NYCTA repeats and realleges the allegations of the previous paragraphs as

though fully set forth herein.

       90.     The NYCTA has performed all of its obligations under the Contract.

       91.     As a result of its failure to identify and respond to obvious indications of fraud

reflected in the claims data that it collected and monitored, and its resultant failure to prevent the

accumulation of fraudulent prescription drug claims, as well as its approval of non-FDA

approved medications that were not covered by the NYCTA prescription drug benefit plan, ESI

has breached Section 4.7 of the Contract by failing to reimburse the NYCTA for claims that

exceed the amount payable under its benefit plan and the Contract.




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       92.       The NYCTA has suffered damages as a direct and proximate result of ESI’s

breach of contract.

                                   SIXTH CAUSE OF ACTION
                                   (BREACH OF CONTRACT)

       93.       The NYCTA repeats and realleges the allegations of the previous paragraphs as

though fully set forth herein.

       94.       The NYCTA has performed all of its obligations under the Contract.

       95.       As a result of its failure to identify and respond to obvious indications of fraud

reflected in the claims data that it collected and monitored, and its resultant failure to prevent the

accumulation of fraudulent prescription drug claims, as well as its approval of non-FDA

approved medications that were not covered by the NYCTA prescription drug benefit plan, ESI

has breached Section 4.35 of the Contract by failing to administer an “enhanced” fraud

prevention and detection program for the EGWP plan beneficiaries, including system edits and

other procedures to critically examine charges for all services that appeared abusive, excessive,

or fraudulent.

       96.       The NYCTA has suffered damages as a direct and proximate result of ESI’s

breach of contract.




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                                  DEMAND FOR RELIEF

WHEREFORE, the NYCTA demands:

      1. Damages in an amount to be proven at trial;

      2. Its costs of suit; and

      3. Such other and further relief that the Court deems just and proper.


Dated: July 30, 2019                            BAKER & HOSTETLER LLP

                                                By: ________/s/ John Siegal_________
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